                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN


In Re:                                                         Case No.       09-48174
IOTT, KEVIN ROLAND                                             Chapter        7 -- Liquidation
IOTT, LAURA SUE                                                Judge          Steven W. Rhodes

                                                               Trustee        Timothy J. Miller
Debtor(s)

                                         INTERIM REPORT OF TRUSTEE

1.    For the period ending May 29, 2009

2.    Date of section 341A meeting:                 05/13/09              341A continued date:        05/18/09
      Date of appointment accepted:

3.    Funds on hand (from the Estate Cash Receipts and Disbursements Record – Form 2)

      Total receipts                                       0.00           Checking                          0.00
      Total disbursements                                  0.00           Money Market                      0.00
                                                                          Investment                        0.00
                                                                          Total                            $0.00

      The amount of the Trustee's bond is: Blanket Bond $2,000,000.00
      which is sufficient to cover the assets listed.

4.    The value of assets remaining to be liquidated:                                                      $3.00
      (from Individual Estate Property Record – Form 1, total of column 6)

      Assets for which insurance coverage has been obtained: (None)

5.    Projected total value to be realized (total of 3 + 4):                                               $3.00

6.    Major activities during the reporting period not reflected in the
      Individual Estate Property Record and Form 2:

      Next Activity:     Investigation of Debtor's businesses.


7.    Projected date of final report:    11/29/10


                                    Trustee's Signature:     /s/Timothy J. Miller, Trustee
                                                            Timothy J. Miller, Trustee (P36951)
                                                            645 Griswold, Suite 3900
                                                            Detroit, MI 48226
                                                            (313) 237-0850
                                                            tmiller@schneidermiller.com




     09-48174-swr        Doc 21         Filed 05/29/09         Entered 05/29/09 11:26:57          Page 1 of 3
                                                                           Form 1                                                                               Page: 1

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 09-48174 SWR                                                          Trustee:        (420470)     Timothy J. Miller
Case Name:            IOTT, KEVIN ROLAND                                           Filed (f) or Converted (c): 03/19/09 (f)
                      IOTT, LAURA SUE                                              §341(a) Meeting Date:        05/13/09
Period Ending: 05/29/09                                                            Claims Bar Date:

                                  1                                2                          3                      4                  5                   6

                     Asset Description                           Petition/           Estimated Net Value          Property          Sale/Funds         Asset Fully
          (Scheduled And Unscheduled (u) Property)             Unscheduled      (Value Determined By Trustee,    Abandoned          Received by     Administered (FA)/
                                                                  Values           Less Liens, Exemptions,       OA=§554(a)          the Estate      Gross Value of
Ref. #                                                                                 and Other Costs)          DA=§554(c)                         Remaining Assets

 1        5670 Sylvania, Petersburg, MI 49270                     245,000.00                         0.00          DA                        0.00                   FA

 2        Carribean Palm Village                                    3,000.00                      3,000.00         DA                        0.00                   FA

 3        Cash on hand                                                 200.00                      200.00          DA                        0.00                   FA

 4        United Bank & Trust, Dundee, MI                              800.00                      800.00          DA                        0.00                   FA

 5        Misc. household items                                     1,600.00                      1,600.00         DA                        0.00                   FA

 6        General Items                                                200.00                      200.00          DA                        0.00                   FA

 7        Costume jewelry, wedding rings, engagement ring,             520.00                      520.00          DA                        0.00                   FA

 8        7mm digital camera                                           400.00                      400.00          DA                        0.00                   FA

 9        33% - Posey Lake Estates, LLC                                  1.00                        1.00                                    0.00                 1.00

10        Iott Tomato Farms, LLC (shut down)                             1.00                        1.00                                    0.00                 1.00

11        Coca Cola - 10 shares                                        100.00                      100.00          DA                        0.00                   FA

12        EE Bonds (9 @ $50 bonds)                                     450.00                      450.00          DA                        0.00                   FA

13        Posey Lake Estates, LLC                                        1.00                        1.00                                    0.00                 1.00

14        1995 Dodge Intrepid                                          800.00                      800.00          DA                        0.00                   FA

15        1995 Chevy Truck 4x4                                         200.00                      200.00          DA                        0.00                   FA

16        J. Deere 5303 Tractor                                     9,400.00                      9,400.00         DA                        0.00                   FA

17        Miscellaneous tools                                          100.00                      100.00          DA                        0.00                   FA

18        J.D. Lawn Mower                                              200.00                      200.00          DA                        0.00                   FA

19        5 cemetery lots                                           1,500.00                      1,500.00         DA                        0.00                   FA

20        Bicycle                                                       10.00                       10.00          DA                        0.00                   FA

21        Gas Grill                                                    100.00                      100.00          DA                        0.00                   FA

22        Torches                                                      150.00                      150.00          DA                        0.00                   FA

23        Potential Tax Refund                                      Unknown                          0.00          DA                        0.00                   FA

 23      Assets          Totals (Excluding unknown values)       $264,733.00                  $19,733.00                                    $0.00                $3.00



      Major Activities Affecting Case Closing:

                    Investigation of Debtor's businesses.




                    09-48174-swr                 Doc 21      Filed 05/29/09           Entered 05/29/09 11:26:57 Printed:
                                                                                                                    Page 05/29/2009
                                                                                                                               2 of11:21
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                                         Individual Estate Property Record and Report
                                                          Asset Cases
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Period Ending: 05/29/09                                                        Claims Bar Date:

                              1                                     2                     3                       4                  5                 6

                    Asset Description                           Petition/        Estimated Net Value          Property           Sale/Funds       Asset Fully
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                                                                 Values        Less Liens, Exemptions,       OA=§554(a)           the Estate    Gross Value of
Ref. #                                                                             and Other Costs)          DA=§554(c)                        Remaining Assets

     Initial Projected Date Of Final Report (TFR):   November 29, 2010           Current Projected Date Of Final Report (TFR):     November 29, 2010




               09-48174-swr                 Doc 21        Filed 05/29/09          Entered 05/29/09 11:26:57 Printed:
                                                                                                                Page 05/29/2009
                                                                                                                           3 of11:21
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